Case 2:05-cv-00441-MAM Document 91 Filed 03/06/07

IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT DADDIO, ét al. CIVIL ACTION

¥.

THE A.E DuPONT HOSPITAL FOR

CHILDREN OF THE NEMOURS : NO. 05-0441

ORDER

 

Page 1 of 4

APPENDIX X

AND NOW, this Day of , 2007, it is hereby

ORDERED that the application of Atexander E. Dreier, Esquire , Esquire, to practice in this

court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

[~]_ GRANTED.

["]_ DENIED.

 
Case 2:05-cv-00441-MAM Document 91 Filed 03/06/07 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Civil Action No#_O5- O44 |

APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT PURSUANT TO
LOCAL RULE OF CIVIL PROCEDURE 83.5.2(6)

L_ APPLICANT'S STATEMENT

 

 

 

 

 

I, Alexander E, Dreier the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsytvania, and I hereby apply for admission to practice in this court
pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number 43 it , for the $40.00 admission
fee.

A. i state that | am currently admitted to practice in the following state jurisdictions:
Maryland 06/25/1997 199706250113

(State where admitted) (Admission date} (Attorney Identification Number)
District of Columbia 10/05/1998 459963

(State where admitted) (Admission date} (Attorney Identification Number)
(State where admitted) (Admission date) — {Attorney Identification Number}

B. / state that | am currently admitted to practice in the following federal jurisdictions:
US Gourt of Appeals

for the Tenth Circuit 04/20/1999

(Court where admitted) {Admission date) (Attorney Identification Number)

US Court of Appeals

for the Eleventh Circuit J1/08/2002  _

feourt where admitted) (Admission date) {Attorney Identification Number)
5 Court of Appeals

for the Ninth Circuit 08/15/2000
(Court where admitted) {Admission date) (Attorney Identification Number)

 

C. i state that 1 am at present a member of the aforesaid bars in good standing, and thal | will demean myself as an attorney of
this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

Civil Aa Hon Als. OF~ O44] - For non - parties
es The Children's Hospibel af,
(riladebplig and

James E. Goin, PhO.

Jam entering my appearance for

 

    

{Applicant's Signature

Heh &, 200?

(Date}

 

APPLICANT’S OFFICE ADDRESS AND TELEPHONE NUMBER:
555 13th Street, N.W.
Washington, D.C. 20004
(202) 637-6864

 

 

 

Sworn and subscribed before me this

oe Day of Moseh ' root.
(Persie O-Pirmuard
Noy Con isa Expires Apri 30, 2008 10/04
Case 2:05-cv-00441-MAM Document 91 Filed 03/06/07 Page 3 of 4

Il. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

 

The undersigned member of the bar of the United States District Court for the Eastern
District of Pennsylvania hereby moves for the admission of Alexander E. Dreier, Esquire to
practice in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or
after reasonable inquiry believe) that the applicant is a member in good standing of the above-
referenced state and federal courts and that the applicant’s private and personal character is good. I
certify that this application form was on Uh A date mailed, with postage prepaid, to all interested

counsel. i |
Howard M. Klein, Esquire fb

Sponsor’s Name Sponsor’ 8 Signature Admission date - Attorney
Identification No.

08/13/1981 33632

SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

Conrad O'Brien Gellman & Rohn, P.C.
1545 Market Street, 16th Floor, Phitadelphia, PA 19102

{215} 864-9600

Sworn and subscribed before me this

 
    

Notary Public

DENISE A. KASER
NOTARY PUBLIC OF NEW JERSEY
My COMMISSION EXPIRES MAY 7 2008
Case 2:05-cv-00441-MAM Document 91 Filed 03/06/07 Page 4 of 4

CERTIFICATE OF SERVICE

 

] hereby certify that a true and correct copy of the foregoing Application of Alexander E.
Dreier, Esquire to practice in this Court pursuant to Local Rule of Civil Rule of Procecdure
83.5.2(b } and the relevant proposed Order which, if granted, would permit such practice in this

court was mailed today with postage prepaid to:

Theresa M. Blanco, Esquire R. Nichols Gimbel, Esquire

Eaton & McClellan McCarter & English

230 S. Broad Street 1735 Market Street

3" Floor Mellon Bank Center, Suite 700

Philadelphia, PA 19102 Philadelphia, PA 19103

Attorneys for Plaintiffs Attorney for Defendants The Al DuPont
Hospital for Children and The Nemours
Foundation

Sara Petrosky, Esquire

McCann and Geschke, P.C.

1800 John F. Kennedy Blvd., Suite 801
Philadelphia, PA 19103-7406
Attorneys for Defendants The Nemours
Foundation, William IL Norwood,
Christian Pizarro, John Murphy, A.
Majeed Bhat, Ellen Spurrier, Deborah
Davis, Paul Kerns and R, Rios

/s Howard M. Klein (HME 1768)
Howard M. Klein

March 6, 2007
